                  Case 23-11131-TMH             Doc 987       Filed 12/21/23        Page 1 of 3




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                    Debtors.1                          (Jointly   Administered)
                                                                       Ref. Docket No. 982

     ORDER SHORTENING NOTICE PERIOD AND SCHEDULING HEARING WITH
    RESPECT TO THE (I) DEBTORS’ MOTION PURSUANT TO SECTION 363 OF THE
    BANKRUPTCY CODE TO ENTER INTO A RELEASE PROTOCOLS AGREEMENT
       WITH DSM NUTRITIONAL PRODUCTS LTD. AND FIRMENICH S.A. AND
                            (II) MOTION TO SEAL

                   Upon consideration of the motion (the “Motion to Shorten”)2 of the above-captioned

debtors and debtors in possession (collectively, the “Debtors”) for the entry of an order (this

“Order”): (a) shortening notice with respect to: (i) the Debtors’ Motion Pursuant to Section 363

of the Bankruptcy Code to Enter into a Release Protocols Agreement with DSM Nutritional

Products Ltd. and Firmenich S.A. (the “Motion to Approve”); and (ii) the Motion to Seal with

respect to the Motion to Approve (the “Motion to Seal,” and together with the Motion to Approve,

the “Motions”); (b) setting a hearing on the Motions before this Court on January 9, 2024 at 10:00

a.m. (prevailing Eastern Time) (the “Hearing”); (c) setting a deadline for objections to the Motions

for January 2, 2024 at 4:00 p.m. (prevailing Eastern Time); (d) authorizing the Debtors to file a

Certification of No Objection on or after January 3, 2023 at 4:00 p.m. (prevailing Eastern Time)

in the event that no objections are filed to the Motions; and (e) granting related relief, all as more




1
     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
     place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
     Emeryville, CA 94608.
2
     Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion to Shorten.



DE:4854-5059-3432.1 03703.004
                  Case 23-11131-TMH             Doc 987     Filed 12/21/23   Page 2 of 3




fully set forth in the Motion to Shorten; and upon consideration of the First Day Declaration; and

the United States District Court for the District of Delaware having jurisdiction over this matter

pursuant to 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157 pursuant to

the Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that it may enter a final order

consistent with Article III of the United States Constitution; and the Court having found that venue

of this proceeding and the Motion to Shorten in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and due, sufficient, and proper notice of the Motion to Shorten having been provided

under the circumstances and in accordance with the Bankruptcy Rules and the Local Rules, and it

appearing that no other or further notice need be provided; and the Court having found cause for

the relief requested in the Motion to Shorten pursuant to Local Rule 9006-1(e); and the Court

having found and determined that the relief sought in the Motion to Shorten is in the best interests

of the Debtors, their estates, their creditors, their stakeholders, and all other parties in interest, and

that the legal and factual bases set forth in the Motion to Shorten establish just cause for the relief

granted herein; and after due deliberation and sufficient cause appearing therefor;

                   IT IS HEREBY ORDERED THAT:

                   1.           The Motion to Shorten is GRANTED as set forth herein.

                   2.           The Motions will be considered by the Court on January 9, 2024 at

10:00 a.m. (prevailing Eastern Time) (the “Hearing”).

                   3.           Any response or objection to the Motions shall be filed no later than

January 2, 2024 at 4:00 p.m. (prevailing Eastern Time).




DE:4854-5059-3432.1 03703.004                           2
                  Case 23-11131-TMH               Doc 987     Filed 12/21/23      Page 3 of 3




                   4.           The Debtors are authorized to file a Certification of No Objection on or after

January 3, 2024 at 4:00 p.m. (prevailing Eastern Time) in the event that no objections are filed

to the Motions.

                   5.           This Court shall retain exclusive jurisdiction to hear and determine all

matters arising from or related to the interpretation, implementation, or enforcement of this Order.




     Dated: December 21st, 2023                     THOMAS M. HORAN
     Wilmington, Delaware                           UNITED STATES BANKRUPTCY JUDGE




DE:4854-5059-3432.1 03703.004                             3
